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               Exhibit 5
  Case 2:16-cv-06576-KM-MAH Document 266-5 Filed 10/10/22 Page 2 of 5 PageID: 11849




                                        REDACTED




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      Forwarded Message   --



From: "wilson zuluaga" <wilsonz©latinfoodus.com>
To: "USTM J.Briggs" <jb(Bustm.us.com>; "wilson zuluaga" <wilsonz@latinfoodus.com>
           -



Sent: 06/30/2015 7:11:36 PM
Subject: specimen

Jack, also and before I forget... we need to replace / change the pic of the specimen loaded in
the application...

I will provide you with a pic of my product. the one showed in the application is not mine...

thanks,


Wilson Zuluaga
www.latinfoodus.com




                                                                                     EXHIBIT




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 Case 2:16-cv-06576-KM-MAH Document 266-5 Filed 10/10/22 Page 4 of 5 PageID: 11851




                                                     REDACTED




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    ForwardedMessage       ----


From: "Wilson Zuluaga" <WilsonZ@latinfoodus.com>
To: "USTM - J.Briggs" <jb@ustm.us.com>
Sent:09/24/2014 6:34:06 PM
Subject: RE: CERVECERO Trademark (Serial No. 86235713)

Let me know if this suffices, or if there is anything else needed.


Wilson.

---Original Message---
From: USTM -J.Briggs [mailto:jb@ustm.us.com)
Sent: Wednesday, 5eptember 24, 2014 3:04 PM
To: Wilson Zuluaga
Subject: CERVECERO Trademark (Serial No. 86235713)

I need packaging  for product on this application. One of the applications cited in the refusalwill be cancelled in
December. In order to wait for that cancellation I need to get this application suspended so there are no deadlines. To
do that I need to show packaging.




USTM



Jack Briggs
888-250-8786x86
jb@USTM.us.com



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Thank you for your cooperation.




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